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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND
                                  NORTHERN DIVISION

 In the Matter of the Petition

                 of

 GRACE OCEAN PRIVATE LIMITED, as
 Owner of the M/V DALI,

                and
                                                               Docket No. _________

 SYNERGY MARINE PTE LTD, as Manager                            IN ADMIRALTY
 of the M/V DALI,


 for Exoneration from or Limitation of
 Liability.

       INTERIM STIPULATION FOR VALUE AND STIPULATION FOR COSTS

       WHEREAS, Petitioners, GRACE OCEAN PRIVATE LIMITED (“Owner”), as owner of

the M/V DALI (the “Vessel”), and SYNERGY MARINE PTE LTD, as manager of the Vessel,

have filed a Petition in the above-captioned proceeding for exoneration from or limitation of

liability in respect of claims and damages incurred during or arising out of the Vessel’s voyage

commencing on or about March 26, 2024 from Baltimore, Maryland bound for Colombo, Sri

Lanka, with an ultimate destination of Yantian, China, and her allision with the Francis Scott Key

Bridge in Baltimore (the “Casualty”);

       WHEREAS, in the above-captioned proceeding, Petitioners pray for the Court to (1) issue

an Order directing the issuance of a notice to all persons asserting claims with respect to which the

Petition seeks exoneration from or limitation of liability, admonishing them to file their respective

claims with the Clerk of this Court and to serve a copy of such claims upon Petitioners’ attorneys

on or before a date to be named in the notice; and (2) issue an order enjoining the commence me nt
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of or further prosecution of any claims or causes of action against Petitioners except in the above-

captioned action;

       WHEREAS, Petitioners desire to prevent the further prosecution of any and all proceedings

already instituted against them and the commencement or prosecution hereafter of any and all

suits, actions, or legal proceedings arising out of the Casualty except in this action;

       WHEREAS, Petitioners desire to provide an interim stipulation for value and security for

claims pending such due appraisement of the amount or value of Owner’s interest in the Vessel

and its pending freight in connection with the voyage, with interest at the rate of 6% per annum

from the date of said security, or whenever the Court shall so order;

       WHEREAS, Rule F(1) of the Supplemental Admiralty Rules and Local Admiralty Rule

(f)(1) require Petitioners to pay security for costs awarded by the Court in the amount of $1,000,

plus interest at the rate of 6% per annum thereon.

       NOW, THEREFORE, in consideration of the premises, Stipulator, The Britannia Steam

Ship Insurance Association Europe, an entity organized under the laws of England and Wales,

hereby undertakes in the sum of $43,671,000, with interest at the rate of 6% per annum thereon

from April 1, 2024, that if judgment is awarded against either or both Petitioners, such judgment

may be entered against both Petitioner(s) and Stipulator for the amount not exceeding the aforesaid

sum and interest.

       Stipulator, The Britannia Steam Ship Insurance Association Europe, hereby submits itself

to the jurisdiction of this Court in connection with this Stipulation and agrees to abide by all orders

and decrees of the Court, intermediate or final, and to pay the amount awarded by the final

judgment or decree rendered by this Court. If the final judgement or decree is appealed, Stipulator

agrees to pay up to the principal amount of this undertaking, with interest at the rate of 6% per
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annum, unless Petitioner(s) pay such judgment or decree or, in the meantime, the amount or value

of Owner’s interest in the Vessel and its pending freight in connection with the voyage shall have

been paid into Court by Petitioner(s) or a subsequent approved Stipulation for Value thereof shall

have been given, in which case this Stipulation shall be void.

Dated:         April 1, 2024
               Baltimore, Maryland

                                                     The Britannia Steam Ship Insurance
                                                     Association Europe


                                                     By: BLANK ROME LLP

                                                     _/s/______________________
                                                     William R. Bennett, III, Esquire
                                                     As attorney-in- fact for the above limited
                                                     purpose only
                                                     (signed copy of document bearing signature
                                                     of William R. Bennett, III is being
                                                     maintained in office of Robert B. Hopkins)
